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  Michael Flynn recites oath of office using slogan
  associated with QAnon
  By Jerry Dunleavy
  July 5, 2020 - 7:01 PM

  During the evening of July 4, retired Lt. Gen. Michael Flynn shared a video of himself leading five other people
  in a recitation of the oath of office traditionally given to federal elected officeholders, ending the oath with a
  slogan associated with the QAnon conspiracy theory.

  Flynn, the former national security adviser for President Trump who recently won a major court victory when an
  appeals court ordered a judge to grant the Justice Department’s motion to dismiss its case against him, posted the
  Independence Day video of himself on Twitter reading the oath of office off of a cellphone as three women and
  two men, some of whom were members of his family, repeated after him in front of a bonfire. The oath, which is
  taken by members of the House and Senate, includes the promise that one “will support and defend the
  Constitution of the United States against all enemies, foreign and domestic.”

  Flynn and the others ended the short video by quoting a popular QAnon slogan — “Where we go one, we go
  all!” — after which they said, “God bless America.”

  Sidney Powell, a former federal prosecutor who took over Flynn's defense last year, denied that her client's video
  had anything to do with QAnon.

  “The slogan comes from an engraved bell on JFK'S sailboat — acknowledging the unity of mankind. The oath is
  obvious — the federal oath in support of our Constitution. He wanted to encourage people to think about being a
  citizen. Don't read anything else into it," she told the Washington Examiner.

  The video, shared with Flynn’s more than 781,000 Twitter followers, has garnered tens of thousands of retweets
  and more than 1.2 million views as of Sunday evening. The former national security adviser had added
  “#TakeTheOath” to his Twitter profile in recent days. The “Take The Oath” movement appears to have started
  online sometime in June.

  Flynn, 61, pleaded guilty in December 2017 to lying to FBI investigators about his December 2016
  conversations with a Russian envoy, but Flynn now claims he was set up by the FBI, and the Justice Department
  is seeking to drop the charges after a trove of information concealed from the defense was unearthed in recent
  months. The appeals court ordered Judge Emmet Sullivan to grant the dismissal.

  QAnon, whose #WWG1WGA hashtag is pervasive in some corners of social media, is a right-wing online
  movement that originated on 4chan message boards in October 2017 with posts by an anonymous person going
  by “Q,” who claimed to be a government official with top-secret intelligence clearance and who made a variety
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  of generally evidence-free "bread crumb" claims about Trump covertly battling a series of "deep state" plots and
  global conspiracies, including an alleged ring of sex traffickers that includes Democratic politicians, business
  leaders, and Hollywood elites.

  Trump has retweeted QAnon Twitter accounts, and Flynn is popular among many QAnon supporters.

  Documents declassified this year indicate that then-FBI agent Peter Strzok abruptly stopped the FBI from
  closing its investigation into Flynn in early January 2017 at the insistence of the FBI’s “seventh floor” after the
  bureau had uncovered “no derogatory information” on Flynn. Emails showed Strzok, along with FBI lawyer
  Lisa Page and several others, sought to continue investigating Flynn, even considering the Logan Act.

  Notes from Strzok show former Vice President Joe Biden raised the Logan Act during an early January 2017
  Oval Office meeting about Flynn. And notes from the FBI's head of counterintelligence, Bill Priestap, show him
  asking, “What is our goal? Truth/Admission or to get him to lie, so we can prosecute him or get him fired?”

  QAnon supporters are typically pro-Trump, emphasize their patriotism for the U.S., meet and talk online using a
  variety of hashtags and memes, and often have a small but noticeable presence at Trump rallies, waving signs
  and wearing "Q"-themed clothing. The term "Anons" is used to reference QAnon members who post
  anonymously.

  An FBI office warned in 2019 that the QAnon ideology might have been at least partly responsible for inspiring
  a number of people to carry out crimes.

  Flynn is not the first prominent Republican to “Take the Oath” in recent days. Jo Rae Perkins, the Republican
  nominee for Senate in Oregon and a vocal QAnon supporter, posted a video of herself taking the oath on June
  26, saying, “I am also one of the thousands of digital soldiers. Today, June 25th, I am taking the oath of office.
  Protocol calls for you to put your left hand upon a Bible. I have here the American Patriot’s Bible. It also says to
  raise your right hand.” She used the hashtags “#DigitalSoldiers” and “#WWG1WGA.”

  Hours after winning the Republican Senate primary in May, Perkins made a direct pitch to followers of QAnon
  in a video shared to Twitter, which she subsequently deleted, telling them: “Where we go one, we go all. I stand
  with President Trump. I stand with Q and the team. Thank you, Anons, and thank you, patriots, and together, we
  can save our republic.” Perkins is running to unseat Democratic Sen. Jeff Merkley, who is widely projected to
  keep his position.

  A number of other Republican congressional candidates have also expressed support for the QAnon conspiracy
  theory.

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